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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

 ULTRA ATHLETE LLC,                            )
                                               )
                                               )
 Plaintiff,                                    )     CASE No.: 4:17-cv-237-RLY-DML
                                               )
 v.                                            )
                                               )
 JALMAR ARAUJO,                                )
 JB SPORTS, LLC dba/                           )     JURY TRIAL DEMANDED
 FLEXIBRACE, and                               )
 JOHN DOE MANUFACTURER(S)                      )
                                               )
 Defendants.                                   )
                                               )


                          PLAINTIFF ULTRA ATHLETE, LLC’S
                     FIRST SET OF REQUESTS FOR PRODUCTION OF
                         DOCUMENTS TO JALMAR C. ARAUJO

         Pursuant to Fed. R. Civ. P. 34, Plaintiff, Ultra Athlete, LLC (“UA”), through counsel,

 hereby requests that Defendant Jalmar Araujo (“Araujo”), respond to these First Set of Requests

 for Production of Documents (“First Document Requests”) within 30 days of service hereof. For

 purposes of these Document Requests, UA incorporates by reference the Definitions set forth in

 its First Set of Interrogatories to Araujo.

                                          INSTRUCTIONS

         1.      In responding to these Document Requests, please furnish all information or

 documents, however obtained, that is within your knowledge, possession, or control (or your

 agents’ or attorneys’), or which may be reasonably ascertained by you.
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        2.      Please supplement the initial responses to these Document Requests in writing to

 counsel for UA after service of the responses if information is ascertained or acquired that falls

 within the scope of the Document Requests.

        3.      If you withhold any Document under a claim of privilege or other objection,

 please respond to the Document Request to the extent not subject to the claimed privilege or

 objection and provide the following information on Document that come within the claimed

 privilege or objection:

                (a)        the date the document was created;

                (b)        the identity of its author(s);

                (c)        the identity of the recipient(s) of the document or communication;

                (d)        the identify of each person present when the document or communication

                           was prepared and received;

                (e)        the subject matter of the document; and

                (f)        the particular privilege(s) relied upon.

        4.      To the extent any responsive “documents” are contained in electronically stored

 information (“ESI”), such documents shall be produced in a mutually agreeable fashion that

 reasonably accommodates the party requesting and the party producing ESI.


                      REQUESTS FOR PRODUCTION OF DOCUMENTS

 REQUEST NO. 1: All documents and things relied upon or consulted in deciding whether to

 admit or deny any allegation in UA’s First Set of Requests for Admissions or UA’s First

 Amended Complaint for Patent Infringement in this action.




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 RESPONSE:



 REQUEST NO. 2: All documents that relate to the allegations in UA’s First Amended

 Complaint for Patent infringement.

 RESPONSE:



 REQUEST NO. 3: Produce all documents identified in your answers to the First Set of

 Interrogatories, all documents the identity of which was requested in such Interrogatories and/or

 were used to prepare responses to such Interrogatories, and all documents that refer or relate to

 the subject matter of the requests and/or responses to such Interrogatories and specifically

 including documents and things related to sales and margin data pertaining to the HSG product

 and to sales of products to persons ordering from Indiana and to products delivered in Indiana.

 RESPONSE:



 REQUEST NO. 4: All documents and things referring or relating to Ultra Athlete, LLC, Ultra

 Ankle, ultraankle.com, McDavid, Rick Peters, the UA patents, HSG product manufacturers, HSG

 product design, specifically including all documents and things that refer or relate to any

 communications referring to any such persons or things.

 RESPONSE:



 REQUEST NO. 5: All documents and things that support or refute each assertion in

 Defendants’ Rule 12 Motions.




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 RESPONSE:




                                    Respectfully submitted,
                                    DUNCAN GALLOWAY EGAN GREENWALD,
                                    PLLC

 Dated: April 27, 2018              s/Kevin T. Duncan
                                    Kevin T. Duncan
                                    (kduncan@dgeglaw.com)
                                    DUNCAN GALLOWAY EGAN
                                    GREENWALD PLLC
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                                    Attorneys for Plaintiff
                                    ULTRA ATHLETE, LLC




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed and served electronically via ECF

 filing with the U.S. District Court for the Southern District of Indiana, New Albany Division,

 this 27th day of April, 2018, to the following:


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                                                        s/Kevin T. Duncan

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                                                       Attorney for Plaintiff
                                                       ULTRA ATHLETE LLC




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